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IN THE UNITED sTATEs DISTRICT COURT F"'ED ‘3`\" gé- D-*'l
FoR THE WEsTERN DISTRICT oF TENNESSEE *
WESTERN DIVISION 95 JUP¥ '3 A?'l 8= 55
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CLEF-`% ’.` i..i.??+}, file .
CHERYL AUTIN, CAROL DLFFEE, and w.c). ca m america

ABIGAIL GIVHAN, On Behalf of
Themselves and All Others
Similarly Situated,
Plaintiffs,
VS. NO. 05-22]3-Ma/An

SOLVAY PHARMACEUTICALS, INC.,
and HAROLD H. SHELVIN, Ph.D.,

Defendants.

 

ORDER GRANTING MOTION TO APPEAR PRO HAC VICE

 

Before the court is the J unc l, 2005 motion for admission pro hac vice ofMichael L. Hardy.
Mr. Hardy is a member in good standing of the bar of the State of Ohio and is admitted to practice
before the United States Distn'ct Court for the Northem District of Ohio, Mr. Hardy has obtained
and is familiar With the local rules and professional guidelines of this court.

For good cause shown, the motion is granted and Michael L. Hardy is admitted to participate
in this action as counsel for Defendant Solvay Pharmaceuticals, Inc.

rr ls so oRDERED this 13 Lday orJune, 2005.

<M</Ms__

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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with Flule 58 andfor 79(3) FRCP on §§ 56

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
case 2:05-CV-02213 Was distributed by faX, mail, or direct printing on
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Honorable Samuel Mays
US DISTRICT COURT

